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  10
                            UNITED STATES DISTRICT COURT
  11
  12           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

  13
  14 DOE, an individual, and on behalf of Case No. 2:20-cv-06098 JAK (AGRx)
     all others similarly situated;
  15                                      DEFENDANT UNIVERSITY OF
  16     Plaintiff,                       SOUTHERN CALIFORNIA’S REPLY
                                          MEMORANDUM OF POINTS AND
  17 v.                                   AUTHORITIES IN SUPPORT OF ITS
  18                                      MOTION TO COMPEL
     UNIVERSITY OF SOUTHERN               ARBITRATION AND TO DISMISS OR
  19 CALIFORNIA, a California Not-for- STAY ACTION
  20 Profit Corporation; DOES 1 through
     20.                                  Date: April 26, 2021
  21                                      Time: 8:30 a.m.
  22     Defendants.

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   1   I.    INTRODUCTION
   2         Despite filing three procedurally improper1 and untimely 2 Opposition briefs
   3   (all of which should be disregarded), Plaintiff fails to present any cogent argument,
   4   much less admissible evidence, to undermine the enforceability of the Arbitration
   5   Agreement (“Agreement”) she signed. The Agreement contains consideration (the
   6   mutual promise to arbitrate claims), was signed by USC and Plaintiff (“Parties”), is
   7   expressly subject to the FAA, and complies with Armendariz v. Foundation Health
   8   Psychcare Services, 24 Cal.4th 83, 97 (2000). It covers all of Plaintiff’s claims,
   9   including the 3rd and 4th claims, as Plaintiff neither asserts claims nor alleges that
  10   Plaintiff was subjected to sexual harassment or sexual assault. Moreover, Plaintiff’s
  11   purported defenses to the Agreement fail as a matter of law: the Franken
  12   Amendment is not a defense to arbitration; USC made no fraudulent
  13   misrepresentations about the Agreement; and Plaintiff fails to establish that there is
  14   both procedural and substantive unconscionability. Finally, USC engaged Plaintiff
  15   in a substantive, 26-minute meet and confer call. (Reply Declaration of Julie Young,
  16   ¶¶ 2-4; Ex K). Thus, the Court should order Plaintiff to arbitrate all claims.
  17   II.   LEGAL ARGUMENT
  18         A.     The Agreement Is Valid And Provides Consideration.
  19         It remains undisputed that the Parties entered into a valid arbitration
  20   agreement. Plaintiff does not (and cannot) deny that the Agreement was
  21   electronically signed by Plaintiff on February 12, 2018 and by USC’s then-President
  22   C. L. Nikias (on behalf of USC).3 (Thompson Decl. ¶¶ 2-3, Ex. B; Thompson Reply
  23   1
         Blady’s declaration is admittedly a 33-page supplemental brief (Blady Decl. ¶133),
  24   as is Plaintiff’s declaration. Properly formatted, Plaintiff’s “Opposition” is 30 pages
  25   long. (Decl. of Vicky Lin, ¶¶ 3-7; Ex M.) All are sanctionable. L.R. 11-9, 83-7.
       2
         Per the Standing Order, the Opposition was due “no later than” December 25, 2020
  26   but was filed on December 28. FRCP 6 does not apply. FRCP 6 Advisory
  27   Committee's Note to 2009 Amendment. This is also sanctionable. L.R. 7-13, 83-7.
       3
         Electronic signatures “may not be denied legal effect or enforceability solely
  28   because it is in electronic form.” Civ. Code 1633.7(a).
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   1   Decl. ¶ 9.) Plaintiff admits to signing the Agreement by (1) seeking to be the class
   2   representative for USC employees who share a “significant common trait, in that the
   3   class members … signed a written arbitration agreement;” and (2) pursuing a claim
   4   for rescission of the Agreement, which acknowledges that Plaintiff signed and is
   5   subject to the Agreement. (Complaint ¶¶104-107, 302 [emphasis added].)
   6         The Agreement itself provides adequate consideration as both Plaintiff and
   7   USC promised to arbitrate all claims between them. 4 Circuit City v. Najd, 294 F.3d
   8   1104, 1108 (9th Cir. 2002) (employer’s “promise to be bound by the arbitration
   9   process itself serves as adequate consideration”); Asfaw v. Lowe's HIW, Inc., 2014
  10   WL 1928612 at *3 (C.D. Cal. 2014) (“There was also valid consideration [because]
  11   the parties mutually agreed to submit to arbitration.) 5 In short, there is no dispute as
  12   to the formation of or validity of the Agreement.
  13         B.     The FAA Governs The Arbitration Agreement.
  14         The FAA applies to this Agreement because it expressly provides so. (See
  15   Motion, 13:3-14). Plaintiff’s attempt to distinguish Victrola 89 v. Jaman Properties
  16   8 LLC, 46 Cal.App.5th 337 (2020) and Biller v. Toyota Motor Corp., 668 F.3d 655
  17   (9th Cir. 2012) because they did not consider her/his arguments of unconscionability
  18   (e.g. AB 51, the Franken Amendment) misses the mark because those issues are
  19   irrelevant to their holding that the FAA applies when an agreement so provides.
  20         Moreover, as this Court has previously ruled, “[a]n employment contract is
  21   considered a ‘contract evidencing a transaction involving commerce,’ and is
  22
       4
  23     In e-signing the Agreement, Plaintiff acknowledged the Parties “are giving up their
       respective rights to a jury trial.” (Thompson Reply Decl. ¶¶ 4-9; Ex L.) The
  24   Agreement also states “[t]he parties agree that final and binding arbitration shall be
  25   the sole and exclusive remedy for resolving any claims covered by this Agreement,
       instead of any court action ….” (Thompson Decl., Ex B at ¶ 4.)
  26   5
         Plaintiff’s own authority, Steiner v. Thexton, 48 Cal.4th 411, 422 (2010), defeats
  27   Plaintiff’s argument that the Agreement is illusory/lacks consideration. The
       “condition precedent” was satisfied when Plaintiff became a USC employee. Id.
  28   (“confer[ing] a bargained-for benefit” cures the “initially illusory nature.”)
                                               7
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   1   therefore covered by the FAA.” Asfaw, 2014 WL 1928612, at *2. Plaintiff admits
   2   that “USC employees are ‘engaged in interstate commerce’” and investigators (such
   3   as Plaintiff) interview “geographically dispersed faculty” via videoconference (See
   4   Opp, 12:16-19, Plaintiff’s Ex. G); thereby conceding that the FAA covers the
   5   Agreement. Circuit City Stores, Inc. v. Adams, 532 U.S. 105, 113 (2001) (Section
   6   2’s language (“involving commerce”) is broader than “engaged in commerce”.)
   7         The Agreement does not fall within the narrow exemption in FAA § 1 for
   8   transportation workers. Plaintiff’s cited case, Circuit City, 532 U.S. 105, confirms
   9   that: (1) Section 1 addressed “Congress’ demonstrated concern with transportation
  10   workers and their necessary role in the free flow of goods;” Id. at 121 (emphasis
  11   added); and (2) “Section 1 exempts from the FAA only employment contracts of
  12   transportation workers,” which Plaintiff is not. Id. at 119 (emphasis added).
  13         C.     The Agreement Compels Arbitration of All Claims.
  14         The Agreement expressly covers “all claims” “including but not limited to:”
  15   (1) “claims for personal, physical, or emotional injury;” and (2) “claims for
  16   discrimination or harassment.” (Thompson Decl., Ex B at ¶ 2.) Plaintiff’s 3rd claim
  17   (discrimination, retaliation under Title IX) and 4th claim (negligent hiring,
  18   supervision, retention) are not exempt from arbitration under Paragraph 3 of the
  19   Agreement because they are not “tort claims” that “are related to or arising out of
  20   sexual assault or harassment.” The Complaint does not allege that Plaintiff was the
  21   victim of sexual harassment or assault, but rather that Plaintiff suffered retaliation,
  22   discrimination, and harm for opposing USC’s purported altering or ignoring Title IX
  23   investigative procedures. (Complaint ¶¶ 65-70, 94-97). The attempt to shoehorn
  24   these claims into the exemption contradicts the plain language of the Agreement.6
  25
  26   6
         Stanley v. Trustees of California State Univ., 433 F.3d 1129 (9th Cir. 2006) does
  27   not reclassify the Title IX claim as a tort claim. It simply “borrowed” California’s
       statute of limitations for personal injury for Title IX claims because “Title IX does
  28   not expressly provide any statute of limitations.” Id., at 1134.
                                               8
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   1         D.     The Agreement Complies with Armendariz.
   2         The “ability to choose expert adjudicators to resolve specialized disputes” is
   3   one of the “principal advantage[s] of arbitration.” AT&T Mobility LLC v.
   4   Concepcion, 563 U.S. 333, 348 (2011). Plaintiff argues that JAMS, “the world’s
   5   largest private alternative dispute resolution (ADR) provider”
   6   (https://www.jamsadr.com/about/), is not a neutral forum because USC is a “repeat
   7   player,” USC’s law school partners with JAMS on educational symposia and
   8   received a pledge for a legacy gift from a USC alumnus affiliated with JAMS. As
   9   explained in USC’s Motion, this argument is unpersuasive. (Motion 21:15-22:2).
  10   Moreover, Plaintiff’s doubts about the impartiality of particular arbitrators are not a
  11   bar to enforcing the Agreement; those concerns are addressed and resolved through
  12   JAMS’ arbitrator selection and challenge process in which both Parties participate,
  13   and which includes arbitrator disclosures of any information that “could lead a party
  14   to question the Arbitrator’s impartiality.” (See Motion 15:17-22; JAMS Rule 15 (b),
  15   (c) & (h); JAMS Arbitrators Ethics Guidelines V(A); Judicial Council’s Ethics
  16   Standards for Neutral Arbitrators, Standard 7.)
  17         The discovery limitations arguments are meritless. Armendariz and
  18   subsequent cases uphold limitations as long as the parties can conduct discovery
  19   “necessary to vindicate [their] claim[s].” 24 Cal. 4th at 105-106, fn. 11. The
  20   Agreement and JAMS’ Rules provide for such discovery. (See Motion 20:6-21:14).
  21         The Agreement’s provision for a “written, reasoned opinion,” by itself and
  22   with JAMS Rule 24(h), is consistent with Armendariz, 24 Cal. 4th at 107 (“an
  23   arbitrator … must issue a written arbitration award that will reveal, however briefly,
  24   the essential findings and conclusions on which the award is based.”)
  25         The Agreement also complies with Armendariz’s rule that an employee
  26   cannot be required to “bear any type of expense that the employee would not be
  27   required to bear if he or she were free to bring the matter in court.” 24 Cal. 4th at
  28   110–111. It limits the employee’s payment to JAMS to a “share of the arbitrator’s
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   1   fee that is no more than the then-current filing fee in the California Superior
   2   Court....” (Thompson Decl., Ex. B at ¶ 5). The provision that “the Employee and the
   3   University shall each bear their own costs relating to the arbitration and their own
   4   attorneys' fees, except as otherwise provided by law” (Id.) [emphasis added]) simply
   5   confirms that each party is responsible for its own attorneys’ fees—exactly as they
   6   would be in court. The “except as otherwise provided by law” language preserves
   7   Plaintiff’s statutory right to recover attorneys’ fees and costs if his/her claims are
   8   ultimately successful. Pokorny v. Quixtar, Inc., 601 F.3d 987, 1004 (9th Cir. 2010)
   9   is inapposite because, unlike in that case, the Agreement does not provide that the
  10   Arbitrator “shall” award costs and fees to the prevailing party regardless of what the
  11   applicable law provides.
  12             Inconsistently, Plaintiff also complains that the Agreement provides that the
  13   Arbitrator “shall award all the remedies to which the prevailing party is legally
  14   entitled, including attorneys' fees and/or litigation costs if recoverable under
  15   applicable law.” (Thompson Decl., Ex. B at ¶ 8). That is precisely what Armendariz
  16   requires. 24 Cal 4th at 102 (“an arbitration agreement may not limit statutorily
  17   imposed remedies such as punitive damages and attorney fees.”). 7
  18             E.    The Franken Amendment Is Not A Defense To Arbitration.
  19             As Plaintiff admits, several courts have ruled that the Franken Amendment
  20       does not create a defense to arbitration by private civil litigants. See, e.g., Harris v.
  21       Halliburton Co., 2016 WL 4204604, at *3 n. 2 (E.D. Cal. 2016); Phifer v. Michigan
  22       Sporting Goods Distributors, Inc., 2010 WL 3609376, at *7 (W.D. Mich. 2010). 8
  23       In any event, the Agreement includes language consistent with the Franken
  24       Amendment’s plain meaning. See Motion 23:7-23; Blount v. North Grumman Info.
  25   7
         Plaintiff argues that this provision “exposes [her/him] to cost-shifting for
  26   petitioning this court” (Opp., at pp. 4, 20). The Agreement is clear, however, that
  27   there will be no cost-shifting except as the Parties would be legally entitled in court.
       8
         See Lee v. Google, Santa Clara Sup Ct. 18CV32365. (Request for Judicial Notice
  28   (“RJN”), Ex. P.)
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   1       Tech. Overseas, Inc., 2014 WL 5149704, *4 (E.D. Va. Oct. 14, 2014) (“sexual
   2       assault or harassment” means claims of “sexual assault” or “sexual harassment.”)
   3            Plaintiff’s argument that the Franken Amendment exempts claims under
   4       FEHA from arbitration is meritless. Plaintiff has not alleged any claims under
   5       FEHA in this case. 9 Moreover, the argument is contrary to basic statutory
   6       construction since the Franken Amendment does not reference FEHA. 10 The fact
   7       that Title VII and FEHA each “independently espouses the same public policy”
   8       does not mean that bringing a FEHA claim is the same as bringing a Title VII
   9       claim. See Rains v. Criterion Sys., 80 F.3d 339, 344 (9th Cir. 1996).11 Were that
  10       true, this Court would have original jurisdiction over FEHA claims.
  11            F.     Plaintiff Fails to Show Fraudulent Inducement.
  12           Plaintiff cannot establish any defense to the Agreement. In addition to the
  13   Code of Conduct addressed in USC’s moving papers, 12 Plaintiff now argues that
  14
       9
  15     Plaintiff seeks to apply collateral estoppel to a trial court ruling in Jane Doe v.
       USC, LASC Case No. BC691494 denying USC’s motion to compel arbitration of a
  16   FEHA sex harassment claim. (Exhibit Y to Blady Decl.). Unlike Plaintiff, Jane Doe
  17   alleged that she was sexually harassed and assaulted. (RJN - Ex. Q, ¶¶ 9-15, 20-23).
       Moreover, Plaintiff cannot seek to apply Jane Doe’s factually inapposite ruling yet
  18   disclaim two decisions granting USC’s motions to compel arbitration of FEHA sex
  19   harassment claims. (Exs. BB, CC to Blady Decl).
       10
          See, In re Lares, 188 F.3d 1166, 1169 (9th Cir. 1999) (“When a statute
  20   enumerates the areas which are to be encompassed in its enforcement, it is generally
  21   accepted that those areas not specifically mentioned are not to be included.”) The
       same is true for Title IX claims, which are also not mentioned in the amendment.
  22   That courts interpret Title IX consistent with similar provisions in Title VII (Stanley,
  23   at 1134), does not mean that the two statutes are one and the same.
       11
          Plaintiff argues that FEHA claims are encompassed by the Franken Amendment
  24   because they are torts, citing Bihun v. AT&T Info. Sys. Inc., 13 Cal.App.4th 976
  25   (1993). Bihun held that a FEHA sexual harassment claim is an action “brought to
       recover damages for personal injury” under Civ. Code § 3291(interest as damages)
  26   because sexual harassment “is a form of violence against women.” Id., at 1004–
  27   1005. There is no such claim in this case.
       12
          Guz v. Bechtel Nat. Inc., 24 Cal.4th 317 (2000) does not support the contention
  28
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   1   USC also made “misrepresentations,” in the Agreement itself: 1) the statement that
   2   “internal processes are available for collegially resolving differences that may arise
   3   between [USC] and its faculty or staff, including formal faculty grievance and staff
   4   complaint procedures;” and 2) “the applicability of the FAA.” (Opp., at p. 21).13
   5   These arguments fail. First, there is no dispute that USC provides pre-arbitration
   6   employee complaint procedures (e.g., staff complaint procedures
   7   (https://policy.usc.edu/staff-complaint-procedures/) and faculty grievances
   8   (https://policy.usc.edu/files/2019/07/2019-Faculty-Handbook-1.pdf). (Lin Decl. ¶¶
   9   8-9, Exs N-O.) Dissatisfaction with how USC has handled Plaintiff’s progressive
  10   discipline and internal complaint does not render the procedures’ existence a fraud.
  11         Second, that Plaintiff disagrees with USC’s contention that the FAA governs
  12   the Agreement is not evidence of a “misrepresentation” on the part of USC.
  13          Plaintiff also references (but does not explain) that USC misrepresented the
  14   “kind” or “character” of her work. (Opp., at p. 21). This is not a promise that goes to
  15   the making of the stand-alone Agreement. Engalla v. Permanente Med. Grp., Inc.,
  16   15 Cal.4th 951, 973 (1997). Moreover, this argument is, in effect, a request that the
  17   Court review the merits of her claims. That is not the proper inquiry. See Kilgore v.
  18   KeyBank Nat’l Ass’n, 718 F.3d 1052, 1058 (9th Cir. 2013).
  19         G.     The Agreement is not Unconscionable.
  20                1.    There Is No Procedural Unconscionability.
  21         “[A] compulsory predispute arbitration agreement is not rendered
  22
  23   that one document (Code of Ethics) was material to Plaintiff signing another
       document—the Agreement. Guz addressed whether a set of personnel policies/
  24   procedures can be the basis for a claim for breach of an implied contract. 24 Cal.4th
  25   at 344–45. Seiter v. Yokohama Tire Corp., 2010 WL 455132 (W.D. Wash. 2010) is
       equally inapposite because it addressed whether a promise in a Code of Ethics itself
  26   could be evidence of an enforceable contract. Here, the Code of Ethics cannot
  27   support a claim of fraud as to the unrelated Agreement. (See Motion, 25:18-26:16).
       13
          Section II.D, above, addresses Plaintiff’s meritless argument that the Agreement
  28   mispresented JAMS as an impartial arbitral forum.
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   1   unenforceable just because it is … offered on a ‘take it or leave it’ basis.” Lagatree
   2   v. Luce, Forward, Hamilton & Scripps LLP, 74 Cal.App.4th 1105, 1127 (2000)
   3   Moreover, given Plaintiff’s knowledge and experience, it is disingenuous for
   4   him/her to claim that he/she did not understand the agreement, or was tricked into
   5   signing it. Ramos v. Superior Court, 28 Cal.App.5th 1042, 1064-65 (2018).
   6         That the JAMS rules were not attached to the Agreement is also not evidence
   7   of unconscionability. See Lane v. Francis Capital Mgmt. LLC, 224 Cal.App.4th 676,
   8   691 (2014) (“[t]here could be no surprise, as the arbitration rules referenced in the
   9   agreement were easily accessible to the parties [ ] on the Internet.”). Also meritless
  10   is Plaintiff’s claim that the Agreement contains “a one sided description of
  11   arbitration.” See Quevedo v. Macy's, Inc., 798 F.Supp.2d 1122, 1138 (C.D. Cal.
  12   2011) (arbitration compelled although materials accompanying the arbitration
  13   agreement did not discuss disadvantages of the particular arbitration process because
  14   “the degree of procedural unconscionability is small.”) Id.
  15                2.     The Agreement Is Not Substantively Unconscionable.
  16         Contrary to Plaintiff’s arguments, the Agreement is fully bilateral as it binds
  17   “the University,” which it defines as including “any of its related entities,” to the
  18   resolution by arbitration of “all claims that the University may have against
  19   Employee.” (Thompson Decl., Ex. B at ¶ 2). Also unavailing is Plaintiff’s argument
  20   that the Agreement’s notice requirement is onerous. (Motion, 19:16-20:4). See also
  21   Sanchez v. Carmax Auto Superstores Cal., LLC, 224 Cal.App.4th 398, 406 (2014)
  22   (“It is hard to see how requir[ing] the employee to identify the nature of the dispute
  23   and known witnesses is unconscionable.)
  24         The Agreement provides that it “may only be revoked or modified in a written
  25   document that expressly refers to the [Agreement] and is signed by the President of
  26   the University.” (Thompson Decl., Ex. B at ¶ 5). It does not state that such
  27   revocation can be done unilaterally. In Ingle v. Circuit City Stores, Inc., 328 F.3d
  28   1165, 1179 (2003) the Ninth Circuit found that a provision affording an employer
                                               13
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   1   “the unilateral power to terminate or modify the [arbitration] contract is
   2   substantively unconscionable,” but “dr[e]w no conclusion as to whether this term,
   3   by itself, renders the contract unenforceable.” Id, at 1179 n. 23. As Plaintiff
   4   acknowledges, California courts have since held that “the implied covenant of good
   5   faith and fair dealing limits the employer's authority to unilaterally modify the
   6   arbitration agreement and saves that agreement from being illusory and thus
   7   unconscionable.” Casas v. Carmax Auto Superstores California LLC, 224
   8   Cal.App.4th 1233, 1237 (2014).
   9         Plaintiff also relies on Ingle to argue that the class action waiver only limits
  10   her/his ability to bring representative actions, but not USC’s. However, Ingle was
  11   displaced by the decision in Concepcion, 563 U.S. at 338, upholding the
  12   enforceability of class action waivers. See Carter v. Rent-A-Ctr., Inc., 718 F.App'x
  13   502, 504 (9th Cir. 2017) (Concepcion “foreclose[es] any argument that a class
  14   action waiver, by itself, is unconscionable under state law.”) See also
  15   Johnmohammadi v. Bloomingdale's, Inc., 755 F.3d 1072, 1074 (9th Cir. 2014)
  16   (upholding provision that “Employees … waive their right to pursue employment-
  17   related claims on a collective basis in any forum, judicial or arbitral.”)
  18         Plaintiff also complains that a separate Confidentiality Statement (Ex. A to
  19   Doe Dec.) and JAMS Rule 26(a) (Confidentiality and Privacy) disadvantage her.
  20   Nonsense. The Confidentiality Statement makes no reference to arbitration. JAMS
  21   Rule 26(a) only addresses the obligation of JAMS and the Arbitrator to “maintain
  22   the confidential nature of the Arbitration proceeding.” They do not limit Plaintiff’s
  23   ability to “contact[] or interview[] witnesses outside the formal discovery process.”
  24   Epstein v. Vision Serv. Plan, 270 Cal.Rptr.3d 239, 258 (2020). 14
  25   14
         The Agreement provides for notice within the same “time prescribed by the state
  26   or federal statute of limitations applicable to the claim being made” and does not
  27   purport to shorten any statute of limitations. (Thompson Decl., Ex. B at ¶ 6).
       Moreover, JAMS Rule 24(c) stating that “[t]he Arbitrator may grant any remedy or
  28
                                               14
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   1          H.    FAA Preempts State Laws.
   2          Plaintiff’s vague invocation of state police powers is contrary to U.S.
   3   Supreme Court precedent. “[T]he [FAA] pre-empts state law” and “state courts
   4   cannot apply state statutes that invalidate arbitration agreements.” Allied Bruce
   5   Terminix Cos. v. Dobson, 513 U.S. 265, 272 (1995); Concepcion, 563 U.S. at 341
   6   (“when state law prohibits outright the arbitration of a particular type of claim, the
   7   analysis is straightforward: The conflicting rule is displaced by the FAA”). 15
   8   Plaintiff fails to explain how any statutes invalidate the Agreement. They do not.16
   9   III.   CONCLUSION
  10          An order compelling individual arbitration of all claims is thus appropriate.
  11   DATED: January 8, 2021          YOUNG & ZINN LLP
  12                                   By: /s/ Vicky H. Lin
                                           VICKY H. LIN
  13                                       Attorneys for Defendant UNIVERSITY
  14                                       OF SOUTHERN CALIFORNIA

  15
  16   relief that is just and equitable” defeats Plaintiff’s argument that the Agreement
  17   precludes equitable remedies.
       15
          The “holding” Plaintiff incorrectly attributes to Prima Paint Corp. v. Flood &
  18   Conklin Mfg, 388 U.S. 395, 415 (1967) is actually language in the dissenting
  19   opinion. Id. at 415. The remaining cases cited did not involve arbitration
       agreements. Medtronic, Inc. v. Lohr, 518 U.S. 470, 485 (1996) dealt with the
  20   Medical Device Amendments. Norfolk S. Ry. Co. v. City of Alexandria, 608 F.3d
  21   150, 160 (4th Cir. 2010) dealt with a local ordinance about railways.
       16
          Labor Code 932 addresses employees’ right to bargain collectively, not arbitration
  22   agreements. Labor Code 432.5’s prohibition against unlawful contractual terms is
  23   inapplicable because the Agreement is lawful. Gov. Code 12964.5’s prohibition
       against a release of FEHA rights is inapplicable because the Agreement did not
  24   waive any rights. It simply requires parties to pursue claims in arbitration. Labor
  25   Code 432.6 applies to agreements entered into after 2020, not this 2018 Agreement.
       Plaintiff provides no authority for the illogical argument that being an at-will
  26   employee extends or modifies the stand-alone Agreement. Finally, Midwest Motor
  27   Supply Co. v. Sup Ct., 56 Cal.App.5th 702 (2020) “decline[d] to address” Section
       432.6 because “a federal district court issued a preliminary injunction enjoining the
  28   state from enforcing section 432.6.” Id. at 693.
                                               15
       DEFENDANT’S REPLY MEMO. OF POINTS AND AUTHORITIES ISO MOTION TO COMPEL ARBITRATION
